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                                                    U.S. Department of Justice

                                                      Federal Bureau of Prisons

                                                      Federal Medical Center

                                                      3301 Leestown Road
                                                      Lexington, KY40511-8799


                                                      December 21,              2017



The Honorable Lawrence R.     Leonard
United States Magistrate Judge
Eastern District of Virginia
Norfolk   Division
Walter E.   Hoffman United States Courthouse
600 Granby Street
Norfolk, VA 23510

                                                      RE: BROWN, Eric Brian
                                                      Case No, 2:17mj562
                                                      Reg. No.         91647-083

Dear Judge Leonard;

     Your court order,     dated December 15,     2017,     committed Eric Brian
Brown to a mental health evaluation pursuant to Title 18, United States
Code, Section 4241, to determine his competence to stand trial.
Mr. Brown arrived at the Federal Medical Center (FMC), Lexington,
Kentucky, on December 20, 2017.  Pursuant to Title 18, United States
Code, Section 4247, in addition to the evaluation period of 30 days
beginning the day he arrived at our facility, due to the large number of
evaluations received at this facility and in order to allow our clinical
staff sufficient time to conduct a thorough examination, we are
respectfully requesting an extension which would allow us an additional
15 days to complete the evaluation.  Under such a time frame, the
evaluation would be completed by February 2, 2018, and a report would be
available to the Court by March 2, 2018.

     If you concur with our request, please fax us a new order to (859)
253-8873.  We sincerely appreciate your consideration in this matter.

                                                      Sincerely,




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